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(Revised 01/2017)




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:21-cv-2994-REB

SAN LUIS VALLEY ECOSYSTEM COUNCIL, SAN JUAN CITIZENS ALLIANCE, THE
WILDERNESS SOCIETY, and WILDEARTH GUARDIANS,

          Petitioners,

v.

DAN DALLAS, in his official capacity as Forest Supervisor for the Rio Grande National
Forest; and UNITED STATES FOREST SERVICE, a federal agency of the United States
Department of Agriculture,

          Federal Respondents.


                     JOINT CASE MANAGEMENT PLAN FOR PETITION
                            FOR REVIEW OF AGENCY ACTION



1.        APPEARANCES OF COUNSEL

For Petitioners:

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For Federal Respondents:

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2.    STATEMENT OF LEGAL BASIS FOR SUBJECT MATTER JURISDICTION

Petitioners allege the Court has jurisdiction under 28 U.S.C. § 1331 (federal question) and
the Administrative Procedure Act, 5 U.S.C. § 704.

Respondents allege that the Court lacks jurisdiction over some or all of Petitioners’ claims
due to statute of limitations, waiver, or failure to exhaust administrative remedies.
Respondents will raise any jurisdictional defenses in their merits brief.

3.    DATES OF FILING OF RELEVANT PLEADINGS

      A.     Date Petition for Review Was Filed: November 8, 2021

      B.     Date Petition for Review Was Served on U.S. Attorney's Office:
             December 4, 2021

      C.     Date Answer or Other Response Was Filed: January 11, 2022

4.    STATEMENT(S) REGARDING WHETHER THIS CASE RAISES UNUSUAL
      CLAIMS OR DEFENSES

The Parties agree that this case not does raise any unusual claims or defenses.

5.    OTHER MATTERS

      A.     The parties have conferred and respectfully request this Court set a
             deadline for Petitioners to file an Amended Petition for Review to add a
             Petitioner on March 4, 2022, and a subsequent deadline to file an additional
             Amended Petition for Review (if needed) to add or remove claims on May
             18, 2022. The parties further agree that the already filed Response to
             Petitioners’ November 8, 2021 “Petition for Review Seeking Declaratory and

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              Injunctive Relief” [Dkt. No. 8] shall be deemed a response to any
              subsequently filed Amended Petition for Review.

       B.     There is a separately filed lawsuit that is a related case to this matter.
              Defenders of Wildlife v. U.S. Forest Serv., Civil Action No. 21-cv-2992-REB.
              The petitioners in Defenders filed a Notice of Related Case. ECF No. 5.

              The two cases arise from a common set of facts, and challenge the same
              federal agency action. This includes the Final Environmental Impact
              Statement and Record of Decision for the 2020 Rio Grande National Forest
              Land Management Plan. The cases share a party in common, though do not
              share legal claims in common. Though the resolution of one case could
              impact the resolution of the other case, the parties in this action do not
              currently seek to consolidate the two cases.

       C.     Counsel representing the Trails Preservation Alliance contacted counsel for
              Respondents about intervening in this matter. Trails Preservation Alliance
              has not yet moved to intervene. If Trails Preservation Alliance or any other
              entity moves to intervene, the Parties will provide their positions on
              intervention at that time.

6.     PROPOSED BRIEFING SCHEDULE

The parties have conferred and respectfully request this Court enter the following briefing
schedule for resolution of these consolidated cases:

       A.     Deadline for Lodging Administrative Record: March 4, 2022

       B.     Deadline for Parties to Confer on Record Disputes: April 18, 2022

       C.     Deadline for Filing Motions to Complete and/or Supplement the
              Administrative Record: May 18, 2022

       D.     Petitioners’ Opening Brief Due: July 1, 2022

       E.     Respondents’ Response Brief Due: August 15, 2022

       F.     Petitioners’ Reply Brief (If Any) Due: September 23, 2022

The parties have also conferred about word limits for briefing this matter on the merits,
and agree to the following word limits (excluding the case caption, signature blocks,
certificates of service, table of contents, and table of authorities):

       A. 10,000 words for Petitioners’ opening brief;

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      B. 10,000 words for Federal Respondents’ response brief;

      C. 6,000 words for Petitioners’ reply brief.

7. STATEMENTS REGARDING ORAL ARGUMENT

All parties agree that this case would be aided by oral argument given its complexity
related to facts and the law.

8. CONSENT TO EXERCISE OF JURISDICTION BY MAGISTRATE JUDGE

                      Indicate below the parties' consent choice.

      A.     ( )    All parties have consented to the exercise of jurisdiction of a
                    United States Magistrate Judge.

      B.     (X)    All parties have not consented to the exercise of jurisdiction of a
                    United States Magistrate Judge.

9. OTHER MATTERS

      A.     The Parties agree to comply with the Federal Rules of Civil Procedure and
             the District of Colorado’s local rules with respect to any motions seeking an
             extension of time or a continuance in this matter, or any other matter.

      B.     Respondent seeks leave to provide the Administrative Record on electronic
             media (e.g., thumb drive to Court, thumb drive or link to cloud storage to
             Petitioners), rather than filing it on CM-ECF.

10. AMENDMENTS TO JOINT CASE MANAGEMENT PLAN

The parties agree that the Joint Case Management Plan may be altered or amended only
upon a showing of good cause.

      DATED this _______ day of __________, 20___.


                                                  BY THE COURT


                                                  U.S. District Court Judge

APPROVED:



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